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      5   Defendant, Carlos Vila
      6
      7
      8                          UNITED STATES DISTRICT COURT
      9
                               CENTRAL DISTRICT OF CALIFORNIA
     10
     11    CARLOS VILA,                                      Case No. 2:21-cv-05837-ODW-MRW
     12
                          Plaintiff,                         NOTICE OF MOTION AND
     13                                                      MOTION FOR JUDGMENT ON
     14           vs.                                        THE PLEADINGS PURSUANT
                                                             TO FED. R. CIV. PRO. 12(c);
     15    DEADLY DOLL, INC.,                                MEMORANDUM OF POINTS
     16                                                      AND AUTHORITIES IN
                          Defendant.                         SUPPORT THEREOF
     17
           -----------------------------------------------
     18                                                      Judge: Hon. Otis D. Wright, II
           DEADLY DOLL, INC.,
     19
                                                             Action Filed:        July 20, 2021
     20                   Counterclaim Plaintiff,            Discovery Cutoff:    Sept. 19, 2022
                                                             Pretrial Conf. Dt:   Dec. 28, 2022
     21
                  vs.                                        Trial Date:          January 17, 2023
     22
           CARLOS VILA,                                      Hearing:  April 11, 2022
     23
                                                             Time:     1:30 p.m.
     24                   Counterclaim Defendant.            Courtrom: 350 West 1st Street
                                                                       Los Angeles, CA. 90012
     25
                                                                       Courtroom 5D
     26
     27
     28   Case: 2:21-cv-05837-ODW-MRW                1
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      1                       NOTICE OF MOTION AND MOTION
      2
          TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR
      3
          ATTORNEYS OF RECORD:
      4
                 NOTICE IS HEREBY GIVEN that on Monday, April 11, 2022 at 1:30
      5
          PM, or on such date and time thereafter that the Court deems appropriate, in
      6
          Courtroom 5D of the above-captioned Court, located at 350 W. 1st Street, Los
      7
          Angeles, CA 90012, Plaintiff/Counterclaim-Defendant CARLOS VILA (“Vila”)
      8
          hereby moves this Court, pursuant to Rule 12(c) of the Federal Rules of Civil
      9
          Procedure for an Order granting Vila judgment on the pleadings against
     10
          Counterclaim-Plaintiff DEADLY DOLL, INC. (“Deadly Doll”) all counts of the
     11
          Counterclaim on the grounds that the Counterclaim fails to state a cause of action
     12
          or, in the alternative, that Vila’s alleged use of Deadly Doll’s work is protected by
     13
          the “fair use” doctrine, together with such other and further relief as this Court
     14
          deems just, appropriate, and proper.
     15
                 This Motion is based on this Notice of Motion and the Memorandum of
     16
          Points and Authorities in Support thereof, filed concurrently herewith and all
     17
          exhibits thereto, the pleadings and papers on file in this action; and upon such oral
     18
          and documentary evidence as may be presented at the argument of this matter, if
     19
          any.
     20
                 This Motion is made following the conference of counsel pursuant to Local
     21
          Rule 7-3 and Your Honor’s individual practice rules. The conference of counsel
     22
          took place on November 4, 2021 and Deadly Doll’s position related to that
     23
          conference was confirmed again in writing on March 2, 2022. Despite good faith
     24
          effort by counsel, the parties were unable to reach a resolution that would eliminate
     25
          the need to bring this Motion. This motion is being filed not less than seven (7)
     26
          days following the conference of counsel pursuant to Local Rule 7-3.
     27
          //
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      1   DATED:      March 11, 2022
                      Garden City, New York
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                                                SANDERS LAW GROUP
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      9                                         Attorneys for Plaintiff
                                                File No.: 121884
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      1      I.      INTRODUCTION
      2           Plaintiff/Counterclaim-Defendant, Carlos Vila (“Plaintiff”), hereby submits
      3   the instant Memorandum of Points and Authorities in support of his motion for
      4   judgment on the pleadings, which seeks to dismiss the counterclaim (the
      5   “Counterclaim”) filed by Defendant/Counterclaim-Plaintiff Deadly Doll, Inc.
      6   (“Defendant” or “Deadly Doll”). Dkt. No. 15.
      7           Defendant’s counterclaim is based on the contention that Plaintiff
      8   photographed world-renowned model Irina Shayk in public, while she was wearing
      9   a pair of pants sold by Defendant, which features a design on one lower leg and for
     10   which Defendant claims to own a copyright.            According to Defendant, this
     11   purportedly makes the photograph a “derivative work,” because it features Ms.
     12   Shayk wearing pants sold by Defendant. The Coutnerclaim further asks this Court
     13   to find that Plaintiff’s copyright in the photograph of Ms. Shayk is invalid, on the
     14   grounds that Plaintiff did not identify the photograph as being a derivative work
     15   when he applied for registration of same.
     16           While there is some question as to whether Defendant’s copyright is valid
     17   (Plaintiff has offered an argument regarding that issue as well as asserting that his
     18   photograph of Ms. Shayk would be protected by the fair use doctrine), the Court
     19   need not resolve either issue to determine that there are simply no set of facts or
     20   circumstances upon which Defendant could prevail on the Counterclaim. More
     21   specifically, taken to its logical extension, Defendant’s claims as pled in the
     22   Counterclaim would stand for the premise that no photographer could ever take a
     23   picture of any individual wearing any item of apparel or accessories, without
     24   obtaining licenses or waivers from any and all rightsholders in such apparel or
     25   accessories, lest the photographer run the risk of violating copyright as being a
     26   “derivative work.”
     27           While this argument is creative, it is nothing short of risible, to the extent
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      1   that it would result in the demise of photography as an art form. Defendant’s
      2   argument and interpretation is contrary to well-accepted tenets of copyright which
      3   have protected the rights of photograph authors dating back to the time of the Civil
      4   War. 1      By way of extension, if Defendant’s Coounterclaim were sustained, it
      5   would potentially open the floodgates for manufacturers of cell phones, such as
      6   Apple and Samsung to be held secondarily liable for copyright infringement by
      7   having provided the devices through which such pictures could be taken. This
      8   would clearly be a bizarre and/or absurd result, and one not contemplated by the
      9   Copyright Act.
     10             In light of the foregoing, the Court should find that there are no
     11   circumstances under which Defendant’s fanciful interpretation could be accepted
     12   and, by extension, that Plaintiff is entitled to judgment on the pleadings against the
     13   Counterclaim.
     14       II.     PROCEDURAL POSTURE
     15             Plaintiff commenced this action upon the filing of a Complaint with this
     16   Court on July 20, 2021, alleging a claim for copyright infringement under 17 U.S.C.
     17   § 501, et seq. Dkt. No. 1, et seq. Defendant was served with process on July 22,
     18   2021, and proof of such service was filed with the Court on July 27, 2021. Dkt.
     19   No. 11. Defendant filed its Answer to the Complaint on September 3, 2021. Dkt.
     20   No. 14. Thereafter, Defendant filed the Counterclaim against Plaintiff. Dkt. No.
     21   15. Plaintiff filed an Answer to the Counterclaim on October 22, 2021. Dkt. No.
     22   23. A status conference was held before Magistrate Judge Wilner on November
     23   17, 2021.
     24
     25   1
                  President Abraham Lincoln signed into law a statute that made “photographs and the
     26   negatives thereof” copyrightable.3 Act of March 3, 1865, 13 Stat. 540. The impetus for this act
          was likely due in part to the “prominent role [of photos] in bringing the horrors of the Civil War
     27   to the public.” 1 WILLIAM PATRY, COPYRIGHT LAW & PRACTICE 244 (1996).
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      1       III.     FACTUAL BACKGROUND
      2                A. Plaintiff’s Lawsuit Against Deadly Doll
      3          Plaintiff is a professional photographer by trade who is the legal and rightful
      4   owner of photographs which he licenses to online and print publications. Dkt. No.
      5   1 at ¶ 10.
      6          Defendant is a California corporation with its principal place of business in
      7   in Los Angeles County, California. Dkt. No. 15 at ¶ 4. Defendant is a manufacturer
      8   and seller of clothing which, according to Defendant, has developed a following
      9   among at least a small group of celebrities. Id. Defendant maintains an Instagram
     10   account, which it uses to promote its clothing and other “merch” [sic.] (the
     11   “Account”).2
     12          On or about February 7, 2020, Plaintiff authored a photograph of Russian
     13   model Irina Shayk, taken while Ms. Shayk was walking across a public street (the
     14   “Photograph”). Dkt. No. 1 at ¶ 18; Dkt. No. 1-1. Plaintiff applied to the USCO to
     15   register the Photograph on March 30, 2020 under Application No. 1-8687856921.
     16   Id. at ¶ 19. The Photograph was registered by USCO on March 30, 2020 under
     17   Registration No. VA 2-201-931. Id. at ¶ 20.
     18          Without permission or authorization from Plaintiff, Defendant volitionally
     19   selected, copied, stored and displayed Plaintiff’s copyright protected Photograph
     20   on its Instagram Account (the “Account”). On or about February 10, 2020, Plaintiff
     21   observed the Photograph on Defendant’s Account in a social media story and post,
     22   which was dated February 8, 2020. Id. at ¶ 21. The Photograph was displayed at
     23   URL: https://www.instagram.com/p/B8UfsINnDaH/. Id. at ¶ 22; Dkt. No. 1-2.
     24          The Photograph was copied, stored and displayed by Defendant without
     25   license or permission from Plaintiff, thereby infringing on Plaintiff's copyright(s)
     26   (hereinafter the “Infringement”). Dkt. No. 1 at ¶ 24. The Infringement includes a
     27
          2
                 See @deadlydoll.
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      1   uniform resource locator (“URL”) for a fixed tangible medium of expression that
      2   was sufficiently permanent or stable to permit it to be communicated for a period
      3   of more than transitory duration and, therefore, constitutes a specific infringement.
      4   Id. at ¶25; 17 U.S.C. §106(5); Perfect 10, Inc. v. Amazon.com, Inc. 508 F.3d 1146,
      5   1160 (9th Cir. 2007). Id. at ¶ 25.
      6         The Photograph was willfully and volitionally posted to the Account by
      7   Defendant. Id. at ¶ 28. On information and belief, Defendant engaged in the
      8   Infringement knowingly and in violation of applicable United States Copyright
      9   Laws. Id. at ¶ 30. Defendant has the legal right and ability to control and limit the
     10   infringing activities on its Account and exercised and/or had the right and ability
     11   to exercise such right. Id. at ¶ 31. On information and belief, Defendant received
     12   a financial benefit directly attributable to the Infringement and/or from increased
     13   traffic to the Account. Id. at ¶¶ 33-34.
     14             B. Defendant’s Counterclaim Against Plaintiff
     15         After Defendant filed its Answer, it filed a counterclaim against Plaintiff.
     16   Dkt. No. 15. The counterclaim is based on Defendant’s observation that, in the
     17   Photograph, Ms. Shayk is wearing a pair of pants manufactured and sold by
     18   Defendant, which depicts a partial view of Defendant’s “pin-up girl” image. Id. at
     19   ¶¶ 7-9. Defendant avers that it owns a copyright in the “pin-up girl” image. Id. at
     20   ¶ 7. Therefore, according to Defendant, the Photograph is a “derivative work” to
     21   which Defendant purportedly owns the rights.            As a result, Defendant’s
     22   Counterclaim seeks to cancel Plaintiff’s copyright registration with respect to the
     23   Photograph and accuses Plaintiff of being the infringing party.
     24      IV.    ARGUMENT
     25         Plaintiff’s motion for judgment on the pleadings should be granted insofar
     26   as the Court should not find the Photograph to be a derivative work; regardless of
     27   the fact that Ms. Shayk was wearing a pair of pants sold by Defendant at the time
     28   Case: 2:21-cv-05837-ODW-MRW                4
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      1   she was photographed by Plaintiff. The reason for this is at least threefold. First,
      2   Courts both within and without this Circuit have found that photographs almost
      3   invariably are composed of unique elements which give them sufficient originality
      4   of authorship so as to give rise to copyright protection, even if the resulting image
      5   is a composition of other rights-protected works. Second, the image in which
      6   Defendant claims to own a copyright is de minimis with respect to the composition
      7   and subject matter of the Photograph, so as to not render it susceptible to being
      8   considered a derivative work. Third, if Defendant’s argument were to be adopted
      9   by this Court, it would necessarily result in a determination that nearly any
     10   photograph, as long as the person being photographed was wearing clothing that
     11   s/he did not design and manufacture herself, would potentially infringe upon
     12   someone’s copyright unless the photograph author obtained licenses or waivers
     13   from any and all clothing or accessory manufacturers, before posting or otherwise
     14   sharing the picture. This would result in a bizarre and idiosyncratic interpretation
     15   of copyright law wherein, for example, the individual who is wearing the clothing
     16   would not be allowed to take a photograph of themself in the clothing without
     17   getting permission from the manufacturer
     18         For all these reasons, as well as those set forth herein, the instant motion
     19   should be granted in its entirety.
     20             A. Jurisdiction and Venue
     21         The Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331,
     22   insofar as the claims and counterclaims arise under the Copyright Act. 17 U.S.C.
     23   § 101, et seq.
     24             B. Standard of Review
     25         Rule 12(c) of the Federal Rules of Civil Procedure permits a party to move
     26   to dismiss a suit “[a]fter the pleadings are closed—but early enough not to delay
     27   trial.” Fed. R. Civ. P. 12(c). “Judgment on the pleadings is proper when, taking all
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      1   allegations in the pleading as true, the moving party is entitled to judgment as a
      2   matter of law.” Stanley v. Trustees of Cal. State Univ., 433 F.3d 1129, 1133 (9th
      3   Cir. 2006). In this regard, it must appear beyond doubt that the claiming party can
      4   prove no set of facts that would entitle it to relief. Enron Oil Trading & Transp.
      5   Co. v. Walbrook Ins. Co., 132 F.3d 526, 529 (9th Cir. 1997). To this end, a motion
      6   for judgment on the pleadings is often treated as being “functionally identical” to a
      7   motion to dismiss. Therefore, the standard for a Rule 12(c) judgment on the
      8   pleadings is essentially the same as for a Rule 12(b)(6) motion. Dworkin v. Hustler
      9   Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989). Thus, dismissal is appropriate
     10   if—as here—the pleading fails to assert a cognizable legal theory or to allege
     11   sufficient facts under a cognizable legal theory. See Balistreri v. Pacifica Police
     12   Dep't, 901 F.2d 696, 699 (9th Cir. 1990).
     13             C. The Photograph is not a Derivative Work
     14         The gravamen of Defendant’s counterclaim rests on the contention that
     15   Plaintiff’s Photograph is purportedly an unauthorized derivative work, because Ms.
     16   Shayk was wearing a pair of pants which featured Defendant’s “Pin-up Doll”
     17   image, at the time Plaintiff photographed her. Defendant’s argument is creative (or
     18   perhaps novel), but it must fail, insofar as to adopt such reasoning would have a
     19   chilling effect on the art of photography, if such art form could even survive the
     20   finding that Defendant asks this Court to issue.
     21         “A ‘derivative work’ is defined in the Copyright Act as a work ‘based upon
     22   one or more preexisting works’ that ‘recast[s], transform[s], or adapt[s]’ a
     23   preexisting work and ‘consist[s] of editorial revisions, annotations, elaborations, or
     24   other modifications which, as a whole, represent an original work of authorship’.”
     25   ABS Ent., Inc. v. CBS Corp., 908 F.3d 405, 414 (9th Cir. 2018) (quoting 17 U.S.C.
     26   § 101).
     27         The Ninth Circuit cautioned against applying the rules pertaining to
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      1   derivative works too narrowly with respect to photographs. That is because the
      2   Circuit observed that “[i]n a colloquial sense, of course, a photograph is derived
      3   from the object that is its subject matter.” Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d
      4   1068, 1078 (9th Cir. 2000). Continuing, the Court noted that “one teacher of
      5   photography wrote of a photo as being an image “derived from ... the object
      6   pictured.” Id. (quoting Henry Holmes Smith, Photography In Our Time, in
      7   KALAMAZOO ART CTR., THREE PHOTOGRAPHERS (catalog of exhibition)
      8   (Feb.1961), reprinted in PHOTOGRAPHERS ON PHOTOGRAPHY, supra, at 99,
      9   102.   Critically, however, the Court noted, however, that “simply because
     10   photographs are in this colloquial sense ‘derived’ from their subject matter, it does
     11   not necessarily follow that they are derivative works under copyright law.” Id.
     12          The import of the Ninth Circuit’s discussion and observations in this regard
     13   cannot be understated. That is because a photograph will almost invariably result
     14   in an image which features one or more products or items to which others own a
     15   copyright; whether it is an item of clothing, other artwork, or any other material
     16   capable of an attaining copyright protection. If Defendant’s argument were to be
     17   accepted, it would necessarily result in a determination that a photographer could
     18   not register, protect or sell any images without first obtaining permission from any
     19   and all rightsholders who have any portion of an image featured in a photograph.
     20   This would invite an overly restrictive and an unworkable result.
     21          In this case, the Court should find that the Photograph is not a derivative
     22   work, insofar as it is not “based on” a pre-existing work. While Defendant’s “Pin-
     23   up Doll” image is partially observable on one portion of one leg of the pants Ms.
     24   Shayk is wearing, it is completely incidental to the Photograph. Indeed, the
     25   Photograph is intended to feature a world-renowned model walking in a public
     26   street. Ms. Shayk’s choice of clothing has no bearing on the public’s fascination
     27   with celebrity culture. As the Ets-Hokin Court held, “simply because photographs
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      1   are in this colloquial sense ‘derived’ from their subject matter, it does not
      2   necessarily follow that they are derivative works under copyright law.”
      3         The Court should find the Ninth Circuit’s reasoning to be persuasive here, if
      4   not controlling, and find that the Photograph is not an infringing derivative work;
      5   regardless of the fact that Defendant’s design appears in a de minimis relationship
      6   to the overall Photograph.     To hold otherwise would operate to impose an
      7   unprecedented deterrent to the art of photography.
      8            D. Defendant is not Entitled to a Declaratory Judgment
      9         In addition to its claim for infringement, Defendant seeks a declaration
     10   holding that Plaintiff’s Photograph does not qualify for copyright protection and
     11   that Plaintiff’s registration thereof should be canceled. Defendant cannot possibly
     12   prevail on its declaratory judgment claim because the Photograph is sufficiently
     13   original so as to warrant copyright protection in its own right. Indeed, as will be
     14   discussed more fully infra, the threshold for originality in the realm of photography
     15   is extremely low.
     16         The Ninth Circuit has adopted the Second Circuit's test for ascertaining
     17   whether a derivative work meets copyright law's fundamental requirement of
     18   originality. In order to be copyrightable, (1) “the original aspects of a derivative
     19   work must be more than trivial” and (2) “the original aspects of a derivative work
     20   must reflect the degree to which it relies on preexisting material and must not in
     21   any way affect the scope of any copyright protection in that preexisting material.”
     22   U.S. Auto Parts Network, Inc. v. Parts Geek, LLC, 692 F.3d 1009, 1016 (9th Cir.
     23   2012) (quoting Entm't Research Grp. v. Genesis Creative Grp., 122 F.3d 1211,
     24   1220 (9th Cir. 1997) (quoting Durham Indus. v. Tomy Corp., 630 F.2d 905, 909
     25   (2d Cir. 1980))).
     26         The Durham test establishes two ways of asking the same underlying
     27   question: whether the allegedly derivative work meets the “constitutional
     28   Case: 2:21-cv-05837-ODW-MRW                8
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      1   requirement” of originality enunciated in Feist Publications, Inc. v. Rural
      2   Telephone Service Co., 499 U.S. 340, 346, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991).
      3   In Feist, the Supreme Court held that “[t]o qualify for copyright protection, a work
      4   must be original to the author,” meaning that “the work was independently created
      5   by the author (as opposed to copied from other works), and that it possesses at least
      6   some minimal degree of creativity.” Id. at 345, 111 S.Ct. 1282. Thus, the first prong
      7   of the Durham test asks whether the derivative work is original to the author and
      8   non-trivial, i.e., possesses the minimal degree of independent creativity required by
      9   Feist. Durham, 630 F.2d at 909; Entm't Research Grp., 122 F.3d at 1220.
     10         Applying the foregoing analysis to the case-at-bar, the Ninth Circuit held
     11   that “[c]ourts as well as photographers have recognized the artistic nature of
     12   photography. Indeed, the idea that photography is art deserving protection reflects
     13   a longstanding view of Anglo–American law. Under English law, photographs first
     14   received statutory copyright protection under an 1862 law that granted the author
     15   of ‘every original painting, drawing and photograph ... the sole and exclusive right
     16   of copying, engraving, reproducing and multiplying ... such photograph, and the
     17   negative thereof.’” Ets-Hokin, 225 F.3d at 74 (citing Keith Lupton, Photographs
     18   and the Concept of Originality in Copyright Law, 10(9) EUR. INTELL. PROP.
     19   REV. 257, 257 & n.7 (1988) (quoting the Fine Arts Copyright Act 1862 § 1).
     20         Continuing, the Court found it to be “well recognized that photography is a
     21   form of artistic expression, requiring numerous artistic judgments.” As one
     22   photojournalist wrote,
     23            “[u]p to and including the instant of exposure, the photographer
     24            is working in an undeniably subjective way. By his choice of
     25            technical approach (which is a tool of emotional control), by his
     26            selection of the subject matter to be held within the confines of
     27            his negative area, and by his decision as to the exact, climatic
     28   Case: 2:21-cv-05837-ODW-MRW                9
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      1            [sic] instant of exposure, he is blending the variables of
      2            interpretation into an emotional whole which will be a basis for
      3            the formation of opinions by the viewing public.”
      4   Ets-Hokin, 225 F.3d at 1073–74 (quoting W. Eugene Smith, Photographic
      5   Journalism, PHOTO NOTES, June 1948, at 4, reprinted in PHOTOGRAPHERS
      6   ON PHOTOGRAPHY 103, 104 (Nathan Lyons *1074 ed., 1966)).
      7         “Original” in the copyright context “means only that the work was
      8   independently created by the author (as opposed to copied from other works), and
      9   that it possesses at least some minimal degree of creativity.” Feist Publ'ns, Inc.,
     10   499 U.S. at 345 (citing 1 NIMMER §§ 2.01[A], [B] (1990)). “Almost any
     11   photograph ‘may claim the necessary originality to support a copyright.’” Mannion
     12   v. Coors Brewing Co., 377 F.Supp.2d 444, 451 (S.D.N.Y. 2005) (citing 1
     13   NIMMER § 2.08[E][1], at 2-129; Bridgeman Art Library, Ltd. v. Corel Corp., 36
     14   F.Supp.2d 191, 196 (S.D.N.Y.1999)). Indeed, “[e]ven the slightest artistic touch
     15   will meet the originality test for a photograph.” Ets–Hokin., 225 F.3d 1074-76 (9th
     16   Cir. 2000).
     17         Elsewhere stated, “Elements of originality in a photograph may include
     18   posing the subjects, lighting, angle, selection of film and camera, evoking the
     19   desired expression, and almost any other variant involved.” Rogers v. Koons, 960
     20   F.2d 301, 307 (2d Cir. 1992) (citations omitted).            “[I]n many cases, the
     21   photographer does not invent the scene or create the subject matter depicted in
     22   it. Rather, the original expression he contributes lies in the rendition of the subject
     23   matter - that is, the effect created by the combination of his choices of perspective,
     24   angle, lighting, shading, focus, lens, and so on.” Schrock v. Learning Curve Int'l,
     25   Inc., 586 F.3d 513, 519 (7th Cir. 2009). “Unless a photograph replicates another
     26   work with total or near-total fidelity, it will be at least somewhat original in the
     27   rendition.” Mannion, 377 F.Supp.2d at 452. This is based on the fact that
     28   Case: 2:21-cv-05837-ODW-MRW                10
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      1             “[b]y varying the position of his camera, his camera angle, or
      2             the focal length of his lens, the photographer can achieve an
      3             infinite number of varied compositions with a single, stationary
      4             subject. By changing the light on the subject, or by using a color
      5             filter, any or all of the values in the subject can be altered. By
      6             varying the length of exposure, the kind of emulsion, the
      7             method of developing, the photographer can vary the
      8             registering of relative values in the negative. And the relative
      9             values as registered in the negative can be further modified by
     10             allowing more or less light to affect certain parts of the image
     11             in printing. Thus, within the limits of his medium, without
     12             resorting to any method of control that is not photographic (i.e.,
     13             of an optical or chemical nature), the photographer can depart
     14             from literal recording to whatever extent he chooses.” Id.
     15          In this case, the Photograph is of world-renowned model, Irina Shayk.
     16   Plaintiff chose the angle at which to photograph her; Plaintiff waited until he had
     17   the appropriate background; Plaintiff chose to feature Ms. Shayk prominently in
     18   the picture, without other individuals in her immediate proximity. He chose to take
     19   the photograph at a time when there were no extraneous materials cluttering the
     20   image. Plaintiff chose the lens, focal length, shutter speed, I.S.O., lighting and F-
     21   stop to use, to capture the image in a manner so as to reflect his own artistic
     22   expression.
     23          “When this articulation of the minimal threshold for copyright protection is
     24   combined with the minimal standard of originality required for photographic
     25   works, the result is that even the slightest artistic touch will meet the originality test
     26   for a photograph.” Ets-Hokin, 225 F.3d at 1076. “In assessing the ‘creative spark’
     27   of a photograph, we are reminded of Judge Learned Hand's comment that “no
     28   Case: 2:21-cv-05837-ODW-MRW                11
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      1   photograph, however simple, can be unaffected by the personal influence of the
      2   author.” Id. citing Jewelers' Circular Pub. Co. v. Keystone Pub. Co., 274 F. 932,
      3   934 (S.D.N.Y.1921).
      4         This approach, according to a leading treatise in the copyright area, “has
      5   become the prevailing view,” and as a result, “almost any[ ] photograph may claim
      6   the necessary originality to support a copyright merely by virtue of the
      7   photographers' [sic] personal choice of subject matter, angle of photograph,
      8   lighting, and determination of the precise time when the photograph is to be taken.”
      9   Id.
     10         Given the extremely low threshold for originality when seeking to register a
     11   photograph for copyright protection, it is clear that the Photograph meets this
     12   standard. Stated otherwise, there are no circumstances under which Defendant
     13   could succeed in canceling Plaintiff’s registration of the Photograph. In light of
     14   the foregoing, even if the Photograph could be found to be a derivative work, which
     15   it should not be, there would be no infringement on the part of Plaintiff.
     16            E. Defendant's Copyright Registration is Invalid
     17         Paragraph 7 of the Counterclaim states:
     18            “Among the graphic images DD utilizes on its clothing is a
     19            cartoon-style image of a “Pin-up” girl holding a skull in her left
     20            hand. The artwork which includes that “Pin-up” girl image was
     21            created for DD on or about August 4, 2018, was first published
     22            by DD on or about August 6, 2019, and first appeared on D’s
     23            clothing during late 2019 as part of DD’s 2020 fashion season.
     24            That artwork has been registered for copyright by DD with the
     25            U.S. Copyright Office, and has been assigned Copyright
     26            Registration No. VA0002263282.
     27   [Dkt No. 15 at ¶7].
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      1         According to the United States Copyright Office public catalog, a screen
      2   grab of which is pictured below, the work was created in 2020, had a date of first
      3   publication of April 27, 2021, and was registered on August 10, 2021. As the Court
      4   can readily see, either the dates in the Counterclaim as alleged are incorrect or the
      5   dates provided to the United States Copyright Office are incorrect.
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     17         On November 4, 2021, Plaintiff alerted Defendant as to the fact that the dates
     18   of creation and registration as set forth in in the Counterclaim did not match those
     19   set forth in the application for registration, however, despite having advised
     20   Defendant of same, Defendant elected not to amend the Counterclaim and the time
     21   to do so expired on February 7, 2022. [Dkt No. 25].
     22         Plaintiff believes that the above-noted error with respect to the dates
     23   invalidates Defendant’s registration since the Complaint averments are
     24   substantially different that the information provided to the United States Copyright
     25   Office. Because Defendant has declined to reconcile these plain inconsistencies,
     26   the Court must conclude that either Defendant made a misrepresentation to this
     27   Court or otherwise made a misrepresentation to the USCO. For purposes of this
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      1   motion, it does not matter which body Defendant intended to deceive. All that
      2   matters is that the conflicting statements cannot be reconciled. As such, the
      3   Counterclaim is premised upon void (or cancellable) registration and should
      4   therefore be dismissed.
      5             F. Plaintiff’s Photograph Would be Fair Use
      6         Althought Plaintiff verily believes that the Court need consider this portion
      7   of the argument to determine that the Counterclaim fails as a matter of law, in the
      8   alternative, Plaintiff argues that its usage of Defendant’s “Pin-Up” girl image in the
      9   Photograph would not be an infringement under the fair use doctrine.
     10         In determining whether a use is fair, the following, non-exhaustive, list of
     11   factors, set forth in 17 U.S.C. § 107, are to be considered: (1) The purpose and
     12   character of the use; (2) The nature of the copyrighted work; (3) The amount and
     13   substantiality of the work used; and (4) The effect of the use on the copyright
     14   holder’s potential market for the work. Lenz v. Universal Music Corp., 815 F.3d
     15   1145, 1151-1152 (9th Cir. 2015); Monge v. Maya Magazines, Inc., 688 F.3d 1164,
     16   1171 (9th Cir. 2012). While no one factor is dispositive, the most weight will be
     17   given to the first and fourth factors. Monge, 688 F.3d at 1171.
     18                    i. Purpose and character of use
     19         The question here is whether Plaintiff transformed the Pin-Up girl in the
     20   creation of the Photograph by “add[ing] something new, with a further purpose or
     21   different character.” See Campbell v. Acuff-Rose Music, Inc., 510 U.S. 579, 114
     22   S.Ct. 1164, 127 L.Ed.2d 500 (1994). Here, the answer to that simple question can
     23   be unequivocally answered in the affirmative be merely observing the two subject
     24   works in a side by side comparison:
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      1      Deadly Doll Pin-Up Girl Image                    Plaintiff’s Photograph
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          As the Court can readily see, Plaintiff’s photograph has “added” innumerable
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          elements, well-beyond the cartoon image in which Defendant claims a (spurious)
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          right; including but not limited to: Russian model Irina Shayk, a public street, a taxi
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          cab, buildings, etc… As such, the Photogrpah would clearly be transformative. As
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          the Monge Court explained, “[t]ransformation is a judicially-created consideration
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          that does not appear in the text of the statute.” Monge, 688 F.3d at 1173. Although
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          not appearing in the statute, the Supreme Court explained this test as follows:
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                    “The central purpose of this investigation is to see, in Justice
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                    Story's words, whether the new work merely ’supercede[s] the
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                    objects’ of the original creation, or instead adds something new,
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                    with a further purpose or different character, altering the first
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                    with new expression, meaning, or message; it asks, in other
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                    words, whether and to what extent the new work is
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                    ’transformative’.”
     24
          Campbell at 579. This factor clearly favors the Plaintiff and a finding of fair use.
     25
                          ii. The nature of the copyrighted work
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                In determining whether the nature of the copyrighted work itself supports
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          fair use, the Court must consider whether the work was creative. Monge, 688 F.3d
     28   Case: 2:21-cv-05837-ODW-MRW                15
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      1   at 1177. Photographs that document events are creative, because they are “aesthetic
      2   expressions” of a scene. Monge, 688 F.3d at 1177. Since this discussion appears at
      3   length above, it is clear that the Photograph would be considered a creative work.
      4   Accordingly, this factor also clearly favor the Plaintiff and a finding of fair use.
      5                   iii. Amount and substantiality of the portion used
      6         The Court must next consider the amount and substantiality of Plaintiff’s use
      7   of Defendant’s image from both a quantitative and qualitative perspective. See
      8   Monge, 688 F.3d at 1178. The quantitative inquiry considers the actual proportion
      9   of the Pin-Up Girl image that Plaintiff used. See Monge, 688 F.3d at 1178. The
     10   qualitative inquiry considers whether Plaintiff used the “heart” of the Pin-Up Girl
     11   Image. See Monge, 688 F.3d at 1178. Here, while Plaintiff’s Photograph arguably
     12   encompasses some of the Pin-Up girl image, the Pin-Up girl constitutes only a tiny
     13   fraction of the overall composition of the Photograph. Accordingly, this factor also
     14   clearly favors the Plaintiff and a finding of fair use.
     15                   iv. Effect on the potential market for copyright holder’s work
     16         The final fair use factor is “the effect of the use upon the potential market
     17   for or value of the copyrighted work.” Monge, 688 F.3d at 1180, quoting 17 U.S.C.
     18   § 107(4) (italics by Court). As the Supreme Court held in Harper & Row, “[t]his
     19   last factor is undoubtedly the single most important element of fair use.” Harper &
     20   Row, Publishers, Inc. v. Nation Enters., 471 U.S. 539, 566 105 S.Ct. 2218, 85
     21   L.Ed.2d 588 (1985) (footnote and citation omitted) (emphasis added). The fact that
     22   the focus is on the potential market for or value of the copyrighted work is critical
     23   to this inquiry, insofar as it shifts the Court’s focus away from the myopic—
     24   whether this particular defendant’s actions have diluted the market for this
     25   particular picture—to the broad, that is: “if the challenged use should become
     26   widespread, it would adversely affect the potential market for the copyrighted
     27   work.” Monge, 688 F.3d at 1180, quoting Harper & Row, 471 U.S. at 568; Chicago
     28   Case: 2:21-cv-05837-ODW-MRW                16
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      1   Bd. of Educ. v. Substance, Inc., 354 F.3d 624, 627 (7th Cir. 2003) (“[t]here is no
      2   analytical difference between destroying the market for a copyrighted work by
      3   producing and selling cheap copies and destroying the subsequent years' market for
      4   a [work] ...”).
      5          In other words, the fourth fair use factor focuses on the question of
      6   usurpation. That is because “[c]opyright law serves to protect a copyright holder's
      7   ability to benefit from the market for his or her work, as well as from any markets
      8   that the copyright holder could reasonably be expected to enter.” Gossip Cop, 196
      9   F.Supp.3d at 409 citing Bill Graham Archives, LLC. v. Dorling Kindersley Ltd.,
     10   386 F.Supp.2d 324, 331 (S.D.N.Y. 2005). “Thus, when assessing the fourth fair use
     11   factor, courts ask whether a defendant’s use usurps the market for the copyright
     12   holder's work.” Id. citing Campbell, 510 U.S. at 593, 114 S.Ct. 1164.
     13          With this in mind, it is clear that the fourth fair use factor strongly favors
     14   Plaintiff. Here, there is literally no potentially cognizable impact on the market for
     15   the Pin-Up Girl image. That is because the photograph of a model wearing a pair
     16   of Defendant’s pants does not usurp the market for Defendant selling a pair of
     17   pants. If anything, the argument would be to the contrary. More specifically, the
     18   Photograph featuring a world-renowned model wearing Defendant’s pants almost
     19   certainly would have a positive impact on Defendant’s sales of its clothing. That
     20   is precisely why Defendant elected to post the Photogrpah to its Instragram
     21   Account. The Photograph does not usurp Defendant’s market for its clothing or any
     22   possible derivative usage of the Pin-Up Girl Image. There is literally no credible
     23   arugment that can be offered to the contrary. As such this factor, as with all of the
     24   factors, favors the Plaintiff and a finding of fair-use.
     25   //

     26   //
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     28   Case: 2:21-cv-05837-ODW-MRW                17
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      1                                    CONCLUSION
                For all the reasons set forth above, the Court should find that there are no
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          circumstances upon which Defendant could prevail on the Counterclaim. In light
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          of the foregoing, cause exists to grant the instant motion in its entirety, together
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          with any such other and further relief as this Court deems just, equitable, and
      5
          proper.
      6
          DATED:       March 14, 2022
      7
                       Garden City, New York
      8
      9                                          SANDERS LAW GROUP

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     15                                          File No.: 121884

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     28   Case: 2:21-cv-05837-ODW-MRW                18
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